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EXHIBIT “A”

CIVIL ACTION COMPLAINT

COURT OF COMMON PLEAS OF WASHINGTON COUNTY

 
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IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA

PENNY WETZEL and DAVID
WETZEL, her husband,

Plaintiffs,
Vv.

PIER 1 IMPORTS, INC,, d/b/a PIER 1
IMPORTS,

Defendant.

: CIVIL ACTION

: No. 20/9 — 266" |
| COMPLAINT

: Filed on behalf of Plaintiffs:
: Penny and David Wetzel

: Counsel of record for this party:

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JURY TRIAL DEMANDED
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IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA

PENNY WETZEL and DAVID : CIVIL ACTION
WETZEL, her husband,
: No.

Plaintiffs, :

Vv.

PIER 1 IMPORTS, INC., d/b/a PIER 1
IMPORTS,

Defendants.

NOTICE TO DEFEND

You have been sued in court. If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this complaint and notice
are served, by entering a written appearance personally or by attorney and filing in writing
with the court your defenses or objections to the claims set forth against you. You are warned
that if you fail to do so the case may proceed without you and a judgment may be entered
against you by the court without further notice for any money claimed in the complaint or for
any other claim or relief requested by the plaintiff. You may lose money or property or other
rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A
LAWYER.

Lawyer Referral Service
523 Washington Trust Building
Washington, PA 15301
Telephone: (724) 225-6710

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

Southwestern Pennsylvania Legal Aid Society
10 West Cherry Avenue
Washington, Pennsylvania 15301
Telephone: (724) 225-6170
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IN THE COURT OF COMMON PLEAS OF WASHINGTON COUNTY, PENNSYLVANIA

PENNY WETZEL and DAVID : CIVIL ACTION
WETZEL, her husband, :

No.
Plaintiff,

v.

PIER 1 IMPORTS, INC., d/b/a PIER 1
IMPORTS,

Defendant.

COMPLAINT
AND NOW, come Plaintiffs, Penny and David Wetzel, by and through their attorneys,
Anthony C. Mengine, Esquire, Brittani R. Hassen, Esquire, and KONTOS MENGINE KILLION &

HASSEN who file the within Complaint, and aver as follows:

PARTIES:

1. Plaintiff, Penny Wetzel, is an adult individual, and resident of the Commonwealth
of Pennsylvania with an address of 796 Baird Avenue, Washington, Pennsylvania 15301.

2. Plaintiff, David Wetzel, is an adult individual and husband of Plaintiff Penny
Wetzel residing with her as such at 796 Baird Avenue, Washington, Pennsylvania 15301.

3. Defendant, Pier 1 Imports, Inc., (“Pier 1”) is a Delaware corporation, having a
corporate headquarters at 100 Pier 1 Place, Fort Worth, Texas 76102-2600 and at all times
relevant regularly conducting business activity in Pennsylvania and Washington County by way

of selling and/or distributing its products in the Commonwealth.
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4, At all times relevant hereto, Defendant acted through its agents and employees

acting within the course and scope of their agency or employment.

FACTS
5. Plaintiffs hereby incorporate all preceding paragraphs as though set forth more
fully herein.
6. On or about July 4, 2017, Ms. Wetzel was seated in a Swingasan Chair on the deck

of her home in Washington County, Pennsylvania.

7. Said Swingasan chair was purchased by Ms. Wetzel from Defendant Pier 1 for
personal use at the home of Ms. Wetzel and her husband.

8, While assembling and using the Swingasan chair, Mr. and Ms. Wetzel used
caution to follow the instructions provided with the chair at its purchase and all safety measures
recommended thereby.

9. On the aforementioned date, Ms. Wetzel was using the Swingasan chair in a
manner which was foreseeable to Defendant.

10. While seated in the Swingasan chair and attempting to simply reposition herself,
the chair suddenly, unexpectedly, and uncontrollably lost its center of balance.

11. Due to the sudden, unexpected, and uncontrollable tipping of the chair, Ms.
Wetzel was thrown from the chair and off of her porch, causing serious personal injuries, some

of which may be permanent in nature.
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COUNT I

PENNY WETZEL v. PIER 1 IMPORTS, INC.
Strict Liability

12. Plaintiffs hereby incorporate by reference all preceding paragraphs as though set

forth more fully herein.

13. At all times relevant hereto, Defendant designed, manufactured, sold and/or

distributed the aforesaid Swingasan Chair.

14. Defendant owed a duty of care to Plaintiff to manufacture, distribute and sell

products that were free from defects and fit for their intended purposes.

15. Defendant breached this duty by failing to sell the Swingasan chair to Plaintiff

free from defects and fit for its intended purposes.

16. The injuries and damages sustained by the Plaintiff set forth herein were caused
by and resulted from the Defendant's breach of its responsibilities and legal duties for which the

Defendant is strictly liable, pursuant to §402A of the Restatement (Second) of Torts, generally

and in the following particulars:

a. At all times relevant hereto, Defendant was the designer,
manufacturer, producer, seller, and/or distributor of the
aforementioned chair, which was produced in a defective
condition and unreasonably dangerous to Plaintiff: and

b. Defendant is engaged in the business of designing,
manufacturing, producing, selling, and/or distributing said
defective product, and knew that the aforesaid product would
be sold to the public without substantial change or alteration,
or in the alternative, that any such alteration was foreseeable.

17. The aforesaid product was defective pursuant to §402A of the Restatement

(Second) of Torts, generally and in the following particulars:

a. The aforesaid chair was inadequately designed such that the
center of gravity of a seated user could pass beyond the
footprint of the base of the of the stand, allowing the stand to

suddenly overturn;
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b. The chair failed to contain any device that could restrict the
, motion of the chair to prevent the center of gravity of a seated
user from passing beyond the footprint of the base of the stand;

C. The product contained inadequate and/or defective
instructions and/or warnings;

d. The product contained other defects in its design, construction

and manufacture, which contributed to the Plaintiffs’ damages
as shall be more fully determined.

18. _ Plaintiff used the Swingasan chair in a manner that was intended and expected by

Defendant.
19. Asa result of the conduct of the Defendant, as aforesaid, Plaintiff Penny Wetzel

sustained various injuries, including:

a. Concussion,

b. Left orbital bone fracture;

c. Cheek bone fracture(s);

d. Left jaw fracture;

e. Eye socket fracture;

f. Migraine headaches;

g. Memory loss;

h. Shoulder pain;

i. Neck pain;

j. Nerve pain with radiculopathy;

k. Herniated discs in cervical spine;

1. Visual disturbances;

m. Facial disfigurement;

n, Cracked and broken teeth;

o. Hematoma on breast; and
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p. Other injuries, the full extent of which are unknown at this time.
20. As a result of the conduct of the Defendant, as aforesaid, Plaintiff Penny Wetzel

has sustained the following damages, including:

a. She has suffered and will continue to suffer pain, anxiety, mental anguish
and embarrassment;

b. She has had to receive extensive medical treatment including surgery;

c. She has incurred medical bills for her treatment;

d. She has incurred lost wages;

e. She has suffered the loss of the ordinary pleasures of life; and

f Other damages, the full extent of which are unknown at this time.
WHEREFORE, Plaintiffs demand judgment in their favor against Defendant for an

amount in excess of the applicable arbitration limits, exclusive of interest and costs.

COUNT I

PENNY WETZEL v. PIER 1 IMPORTS, INC.
BREACH OF WARRANTY

21. Plaintiffs hereby incorporate by reference all preceding paragraphs as though set

forth more fully herein.

29. At the time it sold the chair, Defendant was in the business of designing,
manufacturing, assembling, distributing, manufacturing and/or selling chairs and was, with
respect to the subject chair, a merchant within the meaning of Article II of the Pennsylvania
Uniform Commercial Code.

23. Defendant Pier 1 has breached the implied warranties of merchantability and

fitness for a particular purpose (i.e. for use under normal, foreseeable, and expected conditions)
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in that the aforesaid product failed to have the necessary features and safeguards required to
render it safe for normal and expected use, in light of the risks and foreseeable dangers involved
in said usage, as set forth in paragraph 16 above, which is incorporated herein by reference as
though fully set forth at length herein.

24, As aresult of Defendant's breach of warranties, Plaintiff has sustained injuries and
damages as set forth in paragraphs 19 through 20 above, which are incorporated herein by
reference.

WHEREFORE, Plaintiffs demand judgment in their favor against Defendant for an

amount in excess of the applicable arbitration limits, exclusive of interest and costs.

COUNT TT

PENNY WETZEL v. PIER 1 IMPORTS, INC.
NEGLIGENCE

25. Plaintiffs hereby incorporate by reference all preceding paragraphs as though set

forth more fully herein.

26. ‘The injuries and damages sustained by the Plaintiff were caused by the negligence,
carelessness, and/or other liability producing conduct on the part of the Defendant generally and

in the following particulars:

a. Failing to utilize proper designs or procedures for the
manufacture, construction, assembly, distribution, and/or sale
of the chair at issue;

b. Failing to design and/or manufacture the chair with an
adequate center of gravity such that a seated user would not be
able to pass beyond the footprint of the base of the of the stand,
allowing the stand to overturn;

c. Failing to design and/or manufacture the chair with a device
that could restrict the motion of the chair to prevent the center
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of gravity of a seated user from passing beyond the footprint of
the base of the stand;

d. Failing to properly test the chair after its manufacture and prior
to sale;

e. Failing to properly inspect the chair prior to its sale;

£ Failing to design, manufacture, construct, assemble, distribute,

and/or sell the chair in such a manner that it would be safe for
its foreseeable uses;

g. Failing to include adequate instructions and/or warnings; and

Failing to warn that the chair was unsafe or could become
unsafe for its foreseeable use.

Q7. As a result of the conduct of the Defendant as aforesaid, Plaintiff sustained the
injuries and damages set forth in paragraphs 19 through 20 above, which are incorporated herein
as though set forth more fully at length.

WHEREFORE, Plaintiffs demand judgment in their favor against Defendant for an

amount in excess of the applicable arbitration limits, exclusive of interest and costs.

COUNT IV

DAVID WETZEL v. PIER 1 IMPORTS, INC.
LOSS OF CONSORTIUM

28. Plaintiffs hereby incorporate by reference all preceding paragraphs as though set
forth more fully herein.

29. As the sole, direct, legal and proximate result of the negligence and/or other
liability producing conduct of the Defendant, as aforementioned, the Plaintiff David Wetzel has

sustained the following damages:

a. He has incurred and will continue to incur medical
bills on behalf of his wife, the Plaintiff, Penny
Wetzel; and
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b. He has been and will continue to be deprived of the
services, society, assistance and consortium of his
wife, the Plaintiff, Penny Wetzel.
WHEREFORE, Plaintiffs demand judgment in their favor against Defendant for an

amount in excess of the applicable arbitration limits, exclusive of interest and costs.

Respectfully submitted,

KONTOS MENGINE KILLION & HASSEN

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Anthéry €. Menge, Esquire

Brittani R. Hassen, Esquire
Counsel for Plaintiffs
